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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 MARQUITA WAFER,                                  §
                                                  §
                  Plaintiff,                      §
                                                  §
 v.                                               §       Civil Action No. 3:22-CV-2041-L
                                                  §
 SAM’S WEST, INC., doing business as              §
 SAM’S CLUB,                                      §
                                                  §
                    Defendant.                    §

                                              ORDER

        The court has been notified by Defendant’s counsel, Mr. Derek S. Davis, that this case has

settled. The parties are therefore directed to file a stipulation or notice of dismissal, or an agreed

motion to dismiss with the United States District Clerk’s Office by October 24, 2022. The court

truly appreciates the efforts of the parties in resolving this case. There appears to be no further

reason at this time to maintain this case as an open file for statistical purposes, and the court

determines that it should be, and is hereby, administratively closed. Accordingly, the United

States District Clerk is instructed to submit JS-6 form to the Administrative Office, thereby

removing this case from the statistical records. Nothing in this order shall be considered a

dismissal or disposition of this case, and, should further proceedings in it become necessary or

desirable, any party may file a motion to reopen the case to initiate such further proceedings, or

the court may take such action sua sponte.

        It is so ordered this 23rd day of September, 2022.


                                                      _________________________________
                                                      Sam A. Lindsay
                                                      United States District Judge




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